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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------------------X
DEVINIA RIGGINS

                                                                      Civil Action No.
               PLAINTIFF

               v.
                                                                      COMPLAINT
WORKNET OCCUPATIONAL MEDICINE and
SELECT MEDICAL CORPORATION
                                                                      Trial by Jury

               DEFENDANTS
-----------------------------------------------------------------X


       Plaintiff, Devinia Riggins, by and through her attorneys, Derek Smith Law

       Group, PLLC, upon information and belief, complains against Defendants as

       follows:

                                     INTRODUCTION

   1. Plaintiff Devinia Riggins, had a statutory and constitutional right to a

       workplace free from discrimination because of race, color, and sex.

       The Defendants has actual knowledge of the severe and pervasive sex-based

       and race/color-based harassment to which Plaintiff was subjected, created a

       hostile environment when they failed to appropriately address the harassment.
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   By acting with deliberate indifference to that knowledge, Defendants of her

   Constitutional Rights in violation of Title VII of the Civil Rights Act of

   1964 as more fully set forth herein.

2. Plaintiffs also seeks to remedy violations of the laws of Pennsylvania State

   and Pennsylvania Common law to redress the injuries Plaintiffs have suffered

   as a result of being harassed and discriminated against on the basis of her

   sex/gender, and race/color or making complaints about such discrimination.



                        JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

   §1331, 1343 and 2201, which gives district court’s jurisdiction over all civil

   actions arising under the Constitution, laws, and treaties of the United States.

4. This court has jurisdiction in that this action involves a Federal Question.

5. This Court has supplemental jurisdiction under 28 U.S.C. §1367.

6. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1343,

   which gives district courts original jurisdiction over (a) any civil action

   authorized by law to be brought by any person to redress the deprivation,

   under color of any State law, statute, ordinance, regulation, custom or usage,

   of any right, privilege or immunity secured by the Constitution of the United

   States or by any Act of Congress providing for equal rights of citizens or of
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   all persons within the jurisdiction of the United States; and (b) any civil action

   to recover damages or to secure equitable relief under any Act of Congress

   providing for the protection of the civil rights.

7. Venue is proper in this district pursuant to 28 U.S.C. § 1391 (b), since

   Defendant Select Medical Corporation does business in Mechanicsburg,

   Pennsylvania and Defendant Worknet Occupational Medicine does business

   in Philadelphia, Pennsylvania, is located in this judicial district and all or a

   substantial part of the events which give rise to the claim herein occurred in

   this district. Defendant Select Medical Corporation is a domesticated Foreign

   Corporation that Plaintiff believes operates by and through Defendant

   Worknet Occupational Medicine.



                                    PARTIES

8. Plaintiff Devinia Riggins is an African American female.

9. Defendant Select Medical Corporation is Select Medical Corporation is

   located in Mechanicsburg, PA, United States and is part of the Rehabilitation

   Therapy Services Industry. Select Medical Corporation has 29,900 total

   employees across all of its locations and generates $5.08 billion in sales

   (USD). There are 2,203 companies in the Select Medical Corporation

   corporate family.
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  10.At all times material, Plaintiffs was a resident of the County Bucks, in the

     Commonwealth of Pennsylvania, in the Eastern District of Pennsylvania.

  11.At all times material, Plaintiff was an employee of the Defendants.



                       APPLICABLE LAW AND POLICY

  12. This is an action seeking damages to redress the injuries Plaintiff has

  suffered, and continues to suffer, as a result of unlawful employment

  discrimination and retaliation by Defendant against Plaintiff in violation of 42

  U.S.C. §1981, Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C.

  §§ 2000e to 2000e-17 (amended in 1972, 1978 and by the Civil Rights Act of

  1991, Pub. L. No. 102-166 (“Title VII”)), and to remedy violations of the

  Pennsylvania Human Relations Act, as amended, 43 P.S. §§ 951, et. seq.

  (“PHRA”).

Plaintiff further seeks relief due the defendants, pattern, and practice of

employment discrimination, both intentional and systematic, on the basis

of Race.

            EXHAUSTION OF ADMINISTRATIVE REMEDIES

  12.On May 11, 2021, Plaintiff dual filed a Charge of Discrimination (Charge No.

     533-2021-01385) with the Equal Employment Opportunity Commission

     (EEOC) and the Pennsylvania Human Relations Commission (PHRC).
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13.On July 9, 2021, Plaintiff received a Notice of Right to Sue from the EEOC

   in response to his Charge of Discrimination. The PHRC has yet to issue a

   response and is named here to preserve Plaintiff’s ability to Amend the

   Complaint at the time of PHRC ripeness.


                        STATEMENT OF FACTS


14.Plaintiff, Devinia Riggins (Hereinafter referred to as “Riggins”) is an

   individual Black female who is a resident of the Commonwealth of

   Pennsylvania.

15.Defendant Select Medical Corporation (Hereinafter referred to as “SMC”) is

   a Delaware Corporation that is headquartered in Mechanicsburg,

   Pennsylvania.

16.Worknet Occupational Medicine (Hereinafter referred to as ““Worknet”), is

   a division of Select Medical Corporation.

17.At all times material, Defendants were joint employers of Plaintiff.

18.Around July 2015, Plaintiff was hired by Defendants as a Senior Patient

   Representative/Medical Assistant by Defendants.

19.In 2018 the discriminatory conduct began when Manager Jane Fellenz stated

   that Plaintiff could not have a hair color that was orange, at the work

   because it did not correspond with Select Medicals Conduct. Plaintiff’s hair
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   color was not orange it was “light Red brown.” Fran (Director of

   Operations) apologized on behalf of Jane Fellenz. Plaintiff had never

   presented with any workplace documentation concerning hair color. Plaintiff

   believed that the hair-color comment was directly related to being African

   American.

20.In or around February 23, 2021, Plaintiff had a conversation with a

   coworker, Natalie Criniti about a show called “Your Honor on HBO”.

   Plaintiff explained to Natalie that the show was about, race, white collar

   crime, and an African American man being falsely accused of a murder that

   he did not commit.

21.Jane Pungitore (co-worker) yelled in the open work setting “why does

   everything always have to be about race”. Plaintiff responded, “I’m not sure

   why your being defensive but I’m only speaking about a show.” Manager

   Stefanie Daniels came out of her office and directed Plaintiff to stop all

   conversations about Race in the workplace and that Plaintiff needed to be

   silent as to her feelings about racism.

22.Plaintiff told Daniels that it was improper for an African American woman

   to be directed to stop talking about racism while in the workplace.

23. Coworker Natalie stated “Devinia let’s not talk about you being black so

   that you do not get in trouble.”
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24.Stefanie retaliated against Plaintiff’s opposition to racism when she began to

   micromanage Plaintiff. Once Plaintiff clocked out for lunch Stefanie stated

   that per Human Resource’s request, she will be sending Plaintiff home with

   pay because “sticking up for yourself as a Black Woman, was a disruption in

   my workplace, causing front end staff and patients to be uncomfortable”.

   This action was further evidence of retaliation and discrimination based

   upon race.

25.Plaintiff requested a meeting with Human Resources through Stefanie who

   confirmed that she would email the HR Representative and let Plaintiff

   know when she could meet with the Representative.

26.Stefanie stated that she has worked with “black people” her entire career and

   had never had an issue with discrimination at her workplace.

27.Plaintiff asked Stefanie why she was being sent home and not the other

   young lady who started the issue. Stefanie responded, “because you

   (Plaintiff) was angry and was the only one who made the front office feel

   unsafe”.

28.On February 23, 2021, at 6:34pm, Plaintiff received a text message from co-

   worker Jane Pungitore that stated “Devinia I don’t want to fight with you it

   just makes me upset bc I am not a prejudiced and you know that. I don't

   want to fight with you about this.”
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29. On February23, 2021 at 6:40pm Plaintiff texted Stefanie and asked, “When

   will my discussion with HR be”? Plaintiff received no response.

30.On February 24, 2021, Plaintiff requested an update from Stefanie as to the

   meeting with Human Resources. Plaintiff was told that “it was not a good

   time to discuss the matter and Plaintiff should not discuss racial issues at the

   workplace until a discussion with HR is conducted.”

31. Plaintiff was wrongfully terminated by Defendant on March 16, 2021,

   Defendant claims that her termination was due to Jane Pungitore feeling

   uncomfortable working alongside Plaintiff. The Defendant ignored

   Plaintiff’s complaints of racial discrimination, Hostile Work Environment

   and disparate treatment. The Caucasian co-worker’s complaint were

   immediately responded to and resulted in the wrongful termination of

   Plaintiff.

32.As a result of Defendant's actions, Plaintiff felt extremely humiliated,

   degraded, victimized, embarrassed, and emotionally distressed.

33.As a result of the acts and conduct complained of herein, Plaintiff has

   suffered and will continue to suffer the loss of income, the loss of salary,

   bonuses, benefits, and other compensation which such employment entails,

   and Plaintiff also suffered future pecuniary losses, emotional pain,
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   humiliation, suffering, inconvenience, loss of enjoyment of life, and other

   non-pecuniary losses.

34.Plaintiff has further experienced and continues to experience severe

   emotional and physical distress.

35.Plaintiff further claims aggravation, activation, and/or exacerbation of any

   preexisting condition.

36.Plaintiff claims that Defendant unlawfully discriminated against Plaintiff

   because of her race, and ethnicity, and because she complained or opposed

   the unlawful conduct of Defendants related to the above protected classes.

37.Plaintiff claims a continuous practice of discrimination and claims

   continuing violations and makes all claims herein under the continuing

   violations doctrine.

38.Plaintiff further claims constructive and/or actual discharge and also seeks

   reinstatement.

39.Should Plaintiff be unlawfully terminated Plaintiff seeks reinstatement.

40.The above are just some examples of some of the unlawful discrimination

   and retaliation to which Defendants subjected Plaintiff on a continuous and

   on-going basis throughout Plaintiff’s employment.

41.The Defendants have exhibited a pattern and practice of not only

   discrimination but also retaliation.
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42.As a result of Defendants’ actions, Plaintiff felt extremely humiliated,

   degraded, victimized, embarrassed and emotionally distressed.

43.As a result of Defendants’ conduct and comments, Plaintiff was caused to

   sustain serious and permanent personal injuries, including permanent

   psychological injuries.

44.Plaintiff further claims aggravation, activation and/or exacerbation of any

   preexisting condition.

45.As a result of the acts and conduct complained of herein, Plaintiff has suffered

   and will continue to suffer the loss of income, the loss of salary, bonuses,

   benefits and other compensation which such employment entails, and Plaintiff

   also suffered future pecuniary losses, emotional pain, humiliation, suffering,

   inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

   Plaintiff has further experienced severe emotional and physical distress.

46. As Defendants’ conduct has been malicious, willful, outrageous, and

   conducted with full knowledge of the law, Plaintiff demands Punitive

   Damages as against the Defendants.

47.Plaintiff claims that Defendants unlawfully discriminated against and terminated

   Plaintiff because of her color/race because she complained of and opposed the

   unlawful conduct of Defendants related to the above protected class.

48. Plaintiff claims constructive and/or actual discharge
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49.Plaintiff claims a continuous practice of discrimination and claims a

      continuing violation and makes all claims herein under the continuing

      violations doctrine.

50.The above are just some examples, of some of the discrimination and retaliation to

      which Defendants subjected Plaintiff to on a continuous and on-going basis

      throughout Plaintiff’s employment.

51.The Defendants’ have exhibited a pattern and practice of not only

      discrimination but also retaliation.

52.Plaintiff claims alternatively that Plaintiff is an Independent Contractor, and

      Plaintiff makes all applicable claims for the above conduct and facts under the

      applicable law pertaining to Independent Contractors. Furthermore, in such

      case, Plaintiff claims that Defendants owed and breached its duty to Plaintiff

      to prevent the harassment, discrimination, and retaliation and is liable

      therefore for negligence.



                               FIRST COUNT
                    FOR DISCRIMINATION UNDER TITLE VII
                            AGAINST DEFENDANT

61.      Plaintiff repeats and realleges each allegation made in the above

         paragraphs of this complaint.
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62.    Title VII states in relevant parts as follows: § 2000e-2. [Section 703](a)

       Employer Practices It shall be an unlawful employment practice for an

       employer – (1) to fail or refuse to hire or to discharge any individual, or

       otherwise to discriminate against any individual with respect to his

       compensation, terms, conditions, or privileges of employment, because of

       such individual’s race, color, religion, sex, or national origin.”

63.    Defendants engaged in unlawful employment practices prohibited by 42

       U.S.C. § 2000e et seq., by discriminating against Plaintiff because of his

       race and color.


                            SECOND COUNT
               FOR DISCRIMINATION UNDER TITLE VII
                         AGAINST DEFENDANT
61.    Plaintiff repeats and realleges each allegation made in the above

       paragraphs of this complaint.

62.    Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-

       3(a) provides that it shall be unlawful employment practice for an

       employer:

       a. “(1) to … discriminate against any of his employees … because [s]he

          has opposed any practice made an unlawful employment practice by

          this subchapter, or because [s]he has made a charge, testified, assisted
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          or participated in any manner in an investigation, proceeding, or

          hearing under this subchapter.”

63.    Defendants, retaliated against Plaintiff because she opposed and reported

       Defendants’ unlawful employment practices.



                               THIRD COUNT
                   FOR DISCRIMINATION UNDER STATE LAW
                           AGAINST DEFENDANTS

64.    Plaintiff repeats and realleges each allegation made in the above

       paragraphs of this complaint.

65.    The PHRA § 955(a) provides that it shall be an unlawful discriminatory

       practice:

       a. “For any employer because of the race, color, religious creed, ancestry,

          age, sex, national origin or non-job related handicap or disability or the

          use of a guide or support animal because of the blindness, deafness or

          physical handicap of any individual or independent contractor, to refuse

          to hire or employ or contract with, or to bar or to discharge from

          employment such individual or independent contractor, or to otherwise

          discriminate against such individual or independent contractor with

          respect to compensation, hire, tenure, terms, conditions or privileges of

          employment or contract, if the individual or independent contractor is

          the best able and most competent to perform the services required."
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66.    Defendants engaged in an unlawful discriminatory practice by

       discriminating against the Plaintiff because of her race and color.

67.    Plaintiff hereby states her claim against Defendants under all applicable

       paragraphs of the PHRA § 955.

68.    Defendants engaged in an unlawful discriminatory practice by

       discharging, retaliating, and otherwise discriminating against the Plaintiff

       because of Plaintiff’s opposition to the unlawful employment practices of

       his employer.



                               FOURTH COUNT
                   FOR AIDING & ABETTING UNDER STATE LAW
                            AGAINST DEFENDANTS
69.    Plaintiff repeats and realleges each allegation made in the above

       paragraphs of this complaint.

70.    PHRA § 955(e) provides that it shall be an unlawful discriminatory

       practice:

       a. "For any person, employer, employment agency, labor organization or

          employee, to aid, abet, incite, compel or coerce the doing of any act

          declared by this section to be an unlawful discriminatory practice, or to

          obstruct or prevent any person from complying with the provisions of

          this act or any order issued thereunder, or to attempt, directly or
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          indirectly, to commit any act declared by this section to be an unlawful

          discriminatory practice."

71.    Defendants engaged in an unlawful discriminatory practice in violation of

       PHRA §955(e) by aiding, abetting, inciting, compelling, and coercing the

       discriminatory conduct.



                                  FIFTH COUNT
                   Hostile Work Environment and Harassment
                 Civil Rights Act of 1964, 42 U.S.C. §2000e et. seq.
                            AGAINST DEFENDANTS

72.    Plaintiff incorporates by refence the foregoing paragraphs as if set forth at

       length herein.

73.    Defendants are an employer under 42 U.S.C. §2000 et seq as they engage

       in an industry affecting commerce and have 15 or more employees for each

       working day of 20 or more calendar weeks in the current or preceding

       calendar year.

74.    Plaintiff is a person and has a protected class in being African American.

75.    Under 42 U.S.C.§2000e-2 it shall be unlawful employment practice for an

       employer to fail or refuse to hire or to discharge any individual, or

       otherwise to discriminate against any individual with respect to his

       compensation, terms, conditions, or privileges of employment, because of

       such individual’s race, color, religion, sex or national origin.
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76.    Defendant by and through Plaintiff’s supervisors made remarks about

       Plaintiff, treated Plaintiff disparately by way of conduct motivated by

       discriminatory animus as set forth in the Material Facts which have been

       incorporated into this Cause of Action.

77.    The disparate treatment was clearly discriminatory based upon race and

       color.

78.    The disparate treatment caused a hostile work environment for Plaintiff as

       the treatment had an actionable impact on Plaintiff’s ability to work.

79.    Plaintiff’s complaints about his treatment were reported to his supervisors

       and in accordance with the Defendants procedures.

80.    Defendant failed to address Plaintiff’s complaints of discrimination fairly

       and properly.

81.    As a direct and proximate result of Defendant’s discrimination, Plaintiff

       has suffered loss of wages including loss of back pay, loss of front pay,

       loss of amenities of employment, out of pocket expenses, emotional

       damages, pain and suffering, alienation, loss of confidence, loss of

       reputation, and other similar damages and harms, all to Plaintiff’s great

       detriment.

82.    Defendant’s actions were willful and wanton and thus require imposition

       of Punitive Damages.
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                            SIXTH COUNT
                       DISPARATE TREATMENT
             CIVIL RIGHTS ACT OF 1964, 42 U.S.C.§2000e et. seq.
                        AGAINST DEFENDANTS

83.    Plaintiff incorporates by reference the foregoing paragraphs as set forth at

       length herein.

84.    Defendants discriminated and disparately treated Plaintiff, by and through

       its officers, managers, and supervisors as follows:

              i. Disparate discipline.

             ii. Disparate scheduling.

            iii. Disparate training and pay.

            iv. Constructive discharge

             v. Disparate criticism of work performance where similarly

                 situated non-African Americans were not subject to the same,

                 and

            vi. Other treatment that was wrongful and disparate on the base of

                 race/color.

85.    As a direct and proximate result of Defendants discrimination, Plaintiff has

       suffered loss of wages including loss of back pay, loss of front pay, loss of

       amenities of employment, out of pocket expenses, emotional damages,
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       pain and suffering, alienation, loss of confidence, loss of reputation, and

       other similar damages and harms, all to Plaintiff’s great detriment.

86.    Defendants, actions were willful and wanton and thus require imposition

       of Punitive Damages.

87.    Alternatively, as Defendants considered Plaintiff ‘s race in the foregoing

       discrimination, Plaintiff is entitled to a charge of mixed-motive

       discrimination, which entitles Plaintiff to an award of Attorney’s fees.



                               SEVENTH COUNT
                             RETALIATION
              Civil Rights Act of 1964, 42 U.S.C.§200e et. seq.
                         AGAINST DEFENDANT

88.    Plaintiff incorporates the foregoing paragraphs as if set forth at length

       herein.

89.    Defendant DEFENDANTS retaliated against Plaintiff for making a

       complaint of discrimination.

90.    The temporal proximity between Plaintiff’s complaint and termination

       raises an inference that the termination was retaliation, such that no further

       evidence of retaliation is necessary.

91.    As a direct and proximate cause of Defendant’s discrimination, Plaintiff

       suffered loss of wages including loss of back pay, loss of front pay, loss of
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         amenities of employment, out of pocket expenses, emotional damages and

         harms, all of Plaintiff’s great detriment.

92.      Defendants’ actions were willful and wanton and thus require the

         imposition of Punitive Damages.

93.      Defendants considered Plaintiff’s protected class in deciding to disparately treat and/or

         terminate Plaintiff resulting in mixed-motive discrimination/retaliation, which entitles

         Plaintiff to an award of attorney’s fees.




                                   EIGHTH COUNT
      Discrimination, Disparate Treatment, Hostile Work Environment, Retaliation
                Pennsylvania Human Relations Act, 43 P.S. §951 et. seq.
                            AGAINST ALL DEFENDANT

94.      Plaintiff incorporates the foregoing paragraphs as if set forth at length

         herein.

95.      Defendant is an employer under the Pennsylvania Human Relations Act as

         it employs citizens of the Commonwealth of Pennsylvania and because

         Defendant resides in Pennsylvania.

96.      Plaintiff is protected under the Pennsylvania Human Relations Act and has

         the protected class of being African American (race) and color (black).

97.      Defendant subjected Plaintiff to harassing, hostile work environment,

         disparately treated Plaintiff, retaliated against Plaintiff and otherwise

         discriminated against Plaintiff, all on the basis of race and color as alleged.
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98.    As a direct and proximate cause of Defendant’s discrimination, Plaintiff

       has suffered loss of wages including loss of back pay, loss of front pay,

       loss of amenities of employment, out of pocket expenses, emotional

       damages, pain and suffering, alienation, loss of confidence, loss of

       reputation, and other similar damages and harm, all to Plaintiff’s great

       detriment.

99.    Plaintiff seeks attorney’s fees under the Pennsylvania Human Relations

       Act.



                               NINTH COUNT
                              Vicarious Liability
                            AGAINST DEFENDANT

100. At all times material, Defendant DEFENDANTS employed all other

       individual Defendants named in this matter.             DEFENDANTS is

       vicariously liable for all actions of the individual Defendants as well as any

       other employees who may have contributed to the harm caused by the

       discrimination hereinbefore described



                            TENTH COUNT
              FOR DISCRIMINATION UNDER 42 U.S. CODE § 1981
                      (AGAINST ALL DEFENDANTS)

101. 42 U.S. Code § 1981 - Equal rights under the law states provides:
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      a. “All persons within the jurisdiction of the United States shall have the

         same right in every State and Territory to make and enforce contracts,

         to sue, be parties, give evidence, and to the full and equal benefit of all

         laws and proceedings for the security of persons and property as is

         enjoyed by white citizens, and shall be subject to like punishment,

         pains, penalties, taxes, licenses, and exactions of every kind, and to no

         other.”

      b. “For purposes of this section, the term “make and enforce contracts”

         includes the making, performance, modification, and termination of

         contracts, and the enjoyment of all benefits, privileges, terms, and

         conditions of the contractual relationship.”

      c. “The rights protected by this section are protected against impairment

         by nongovernmental discrimination and impairment under color of

         State law.”

102. Defendants constantly enforced a purposefully discriminatory pattern and

      practice of depriving African American individuals of the equal rights

      described therein, in further violation of 42 U.S.C. §1981.

103. As a result of Defendants’ discrimination in violation of Section 1981,

      Plaintiff has been denied the enjoyment of all benefits, privileges, terms,

      and conditions of Plaintiff’s contractual relationship which provided
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          substantial compensation and benefits, thereby entitling him to injunctive

          and equitable monetary relief; and having suffered such anguish,

          humiliation, distress, inconvenience and loss of enjoyment of life because

          of Defendants’ actions, thereby entitling Plaintiff to compensatory

          damages.

   104. As alleged above, Defendants acted with malice or reckless indifference to

          the rights of the Plaintiff and copious other individuals named herein,

          thereby entitling Plaintiff to an award of punitive damages.

   105. Defendants violated the above and Plaintiff suffered numerous damages as

          a result

   106. Plaintiff makes a claim against Defendants under all applicable

          paragraphs of 42 U.S. Code § 1981.

   107. Plaintiff claims Defendants both unlawfully discriminated against Plaintiff

          and unlawfully retaliated against Plaintiff in violated of 42 USC 1981.



                                 JURY DEMAND

      WHEREFORE, Plaintiff demands judgement against the Defendants,

jointly, severally, or in an alternative amount to be determined at the time of trial

plus interest, including but not limited to all emotional distress, back and front pay,
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punitive damages, liquidated damages, statutory damages, attorneys’ fees, costs, and

disbursements of action; and for such other relief as the Court deems just and proper.



                                       DEREK SMITH LAW GROUP, PLLC
                                       By:/s/Scott E. Diamond
                                          SCOTT E. DIAMOND, ESQ.
                                         Attorney for Plaintiff

Dated: 9/2/2021
